






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



AZUCENA MARTINEZ,


                            Appellant,


v.



HARVEST CREDIT MANAGEMENT IV
B,


                            Appellee.
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No. 08-09-00074-CV



Appeal from the


County Court at Law No. 6


of El Paso County, Texas 


(TC# 2006-076) 



MEMORANDUM OPINION


	Pending before the Court is Appellant's motion to dismiss this appeal pursuant to
Tex.R.App.P. 42.1(a)(2)(A).  Appellant  represents that the parties have reached an agreement to
settle and compromise the dispute and requests that this Court dismiss the appeal.  Appellee has
agreed to the motion and there is no indication that dismissal would prevent Appellee from
seeking the relief to which it would otherwise be entitled.  See Tex.R.App.P. 42.1(a)(1).  We
therefore grant Appellant's motion and dismiss the appeal pursuant to the parties settlement
agreement.  As the motion does not indicate the parties have agreed otherwise, costs will be
taxed against Appellant.  See Tex.R.App.P. 42.1(d).


August 12, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Rivera, JJ.


